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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


 ONEWOO CORPORATION and
 V.J.ONE CORPORATION,

                              Plaintiffs,
                      v.
                                                   Adversary Proceeding No.
 HAMPSHIRE BRANDS, INC.,
 HAMPSHIRE GROUP, LIMITED,
 PAUL BUXBAUM and WILLIAM
 DROZDOWSKI,

                              Defendants.


                                  NOTICE OF REMOVAL

       PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. § 1452 and Rule 9027 of the

Federal Rules of Bankruptcy Procedure, defendants Hampshire Brands, Inc. and Hampshire

Group, Limited (collectively “Hampshire”) hereby remove this action from the United States

District Court for the Southern District of New York (“District Court”), Case No. 1:16-cv-4623

(“Removed Action”) to the United States Bankruptcy Court for the Southern District of New York

and, upon such removal, request that the action be transferred to the United States Bankruptcy
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Court for the District of Delaware (“Delaware Bankruptcy Court”) pursuant to the motion to

transfer venue contemporaneously filed herewith.

Papers from the Removed Action

        1.      As required by Rule 9027(a)(1) of the Federal Rules of Bankruptcy Procedure,

copies of all process and pleadings from the District Court docket in the Removed Action as of the

time of the filing of this Notice are attached hereto as Exhibits 1 – 64. A copy of the current

District Court docket is attached hereto as Exhibit 65.

Timeliness

        2.      Pursuant to Rule 9027(a)(2) of the Federal Rules of Bankruptcy Procedure, this

Notice of Removal is timely because it is being filed within 90 days of November 23, 2016, when

Hampshire filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the

Delaware Bankruptcy Court.

Nature of this Proceeding

        3.      The Removed Action is related to Hampshire’s jointly administered chapter 11

cases currently pending in the Delaware Bankruptcy Court under the caption In re Hampshire

Group, Limited, et al., Case No. 16-12634 (BLS) (Bankr. D. Del.) (“Delaware Bankruptcy Case”).

Onewoo Corporation and V.J.One Corporation (“Plaintiffs”) are unsecured creditors of Hampshire

(albeit disputed ones). By the Removed Action, Plaintiffs seek to collect on unsecured debt

allegedly owed by Hampshire and also seek to recover that same monetary amount, through

theories of fraud and misrepresentation, from the two individual defendants1 named in the

Removed Action. Accordingly, any adjudication of the Removed Action relates to the Delaware



1
 Paul Buxbaum (“Buxbaum”) is the Chairman, President and Chief Executive Officer of Hampshire Group, Limited
and Hampshire Brands, Inc.. William Drozdowski (“Drozdowski”) is Hampshire’s Interim Chief Financial Officer
and Secretary and is a director of Hampshire Brands, Inc. (together with Buxbaum, “Non-Debtor Defendants”).


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Bankruptcy Case because it will conceivably impact the handling and administration of the

bankruptcy estates. First, Hampshire in all likelihood owes indemnification obligations to the

Non-Debtor Defendants under the applicable corporate documents and other related agreements.

Equally important, any decision against the Non-Debtor Defendants (however unlikely) could give

rise to claim and issue preclusion and other res judicata and collateral estoppel arguments with

respect to similar claims asserted against Hampshire in the Delaware Bankruptcy Case.

       4.      Concurrent with the filing of this Notice of Removal, Hampshire is filing a motion

to transfer venue to the Delaware Bankruptcy Court in order to efficiently adjudicate the Removed

Action with the Delaware Bankruptcy Case.

The Parties

       5.      Plaintiffs are Korean corporations that manufacture and export clothing. Their

principal place of business is in Seoul, Korea.

       6.      Hampshire Brands, Inc. and Hampshire Group, Limited are Delaware corporations

with their principal place of business in South Carolina. Hampshire Brands, Inc. is a wholly-

owned subsidiary of Hampshire Group, Limited.           Hampshire specializes in designing and

marketing men’s sportswear to department stores, chain stores, and mass market retailers under

licensed brands, their own proprietary brands, and the private labels of customers.

       7.      Buxbaum serves as the Chairman, President, and Chief Executive Officer of

Hampshire.

       8.      Drozdowski serves as the Interim Chief Financial Officer of Hampshire and is a

member of the board of directors of Hampshire Brands, Inc.




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        9.       The Non-Debtor Defendants have advised Hampshire that they consent to the

removal of the Removed Actions to this Court and to the transfer of venue from this Court to the

Delaware Bankruptcy Court.

The Removed Action and the Delaware Bankruptcy Case

        10.      Plaintiffs are disputed unsecured creditors of Hampshire. Plaintiffs allegedly sold

500,000 units of merchandise to Hampshire and claim that Hampshire has failed to pay Plaintiffs

on account of this merchandise. They also seek the same monetary amount from the Non-Debtor

Defendants under theories of fraud and misrepresentation. Plaintiffs filed the Removed Action on

June 17, 2016, in an attempt to collect on this alleged unsecured debt. The Removed Action, which

is currently stayed2, has not progressed beyond the discovery phase.

        11.      Starting in June of 2016, Hampshire attempted to engage in an out-of-court orderly

liquidation and wind-down of its business. This wind-down was jeopardized by the Removed

Action and, on November 23, 2016 (the “Petition Date”), Hampshire and its affiliate filed

voluntary Chapter 11 petitions commencing the Delaware Bankruptcy Case. As of the Petition

Date, Hampshire owed approximately $7,400,000 to its senior secured lender and its books and

records reflect approximately $15,000,000 in unsecured liabilities.

Entitlement to Removal to the Bankruptcy Court for the Southern District of New York

        12.      Pursuant to 28 U.S.C. § 1452(a), “[a] party may remove any claim or cause of action

in a civil action . . . to the district court where such civil action is pending, if such district court has

jurisdiction of such claim or cause of action under section 1334 of [Title 28].” Furthermore, under

Rule 9027 of the Federal Rules of Bankruptcy Procedure, a notice of removal is filed “with the



2
 The Removed Action is automatically stayed as to Hampshire pursuant to 11 U.S.C. § 362. By order of the Delaware
Bankruptcy Court, the Removed Action is also stayed as to the Non-Debtor Defendants through and including January
31, 2017, unless further extended. See Delaware Bankruptcy Case, 16-12634 (BLS), Docket No. 87.


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clerk of the district and division within which is located the state or federal court where the civil

action is pending.”

        13.     28 U.S.C. § 1334(b) provides that district courts have original jurisdiction over “all

civil proceedings arising under title 11, or arising in or related to cases under title 11.” Each district

court is empowered to “provide that . . . any or all proceedings arising under title 11 or arising in

or related to a case under title 11 shall be referred to the bankruptcy judges for the district.”

28 U.S.C. § 157(a). In this District, a Standing Order of Reference refers all such cases to the

Bankruptcy Court by default. See Am. Standing Order of Ref. 1, In the Matter of Standing Order

of Reference re Title 11, No. 12 MISC 00032 (S.D.N.Y. Feb. 1, 2012).

        14.     A civil proceeding “arising in . . . a case under title 11” is a “core proceeding” over

which the Bankruptcy Court has plenary jurisdiction. Baker v. Simpson, 613 F.3d 346, 350 (2d

Cir. 2010), cert. denied, 562 U.S. 1149 (2011); see 28 U.S.C. § 157(b)(1) (“Bankruptcy judges

may hear and determine . . . all core proceedings arising under title 11, or arising in a case under

title 11, referred under subsection (a) of this section, and may enter appropriate orders and

judgments, subject to review under section 158 of this title.”). By statute, core proceedings

include, but are not limited to, “matters concerning the administration of the estate” and “other

proceedings affecting the liquidation of the assets of the estate.” When determining whether a

contract dispute is a core proceeding, the court looks at “(1) whether the contract is antecedent to

the reorganization petition; and (2) the degree to which the proceeding is independent of the

reorganization.” Mt. McKinley Ins. Co. v. Corning Inc., 399 F.3d 436, 448 (2d Cir. 2005).

Furthermore, the court will look at the nature of the proceeding, and may determine the proceeding

is a core proceeding if either (1) the type of proceeding is unique to or uniquely affected by the

bankruptcy proceedings or (2) the proceedings directly affect a core bankruptcy function.” Id.




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       15.     A civil proceeding is “related to . . . a case under title 11” if “the action’s outcome

might have any conceivable effect on the bankrupt estate. Thus, an action is related to bankruptcy

if the outcome could alter the debtor’s rights, liabilities, options, or freedom of action (either

positively or negatively) and which in any way impacts upon the handling and administration of

the bankrupt estate.” Del. Trust Co. v. Wilmington Trust, N.A., 534 B.R. 500, 511 (S.D.NY 2015)

(internal citations omitted); see also In re Cuyahoga Equip. Corp., 980 F.2d 110, 114 (2d Cir.

1992); Pacor, Inc. v. Higgins, 743 F.2d 984 (3d Cir. 1984).

       16.     A district court case may be “removed” to the bankruptcy court of that district. See

MATV-Cable Satellite, Inc. v. Leasing, Inc., 159 B.R. 56, 59 (S.D. Fla 1993) (noting that Rule

9027(a)(1) contemplates removal of district court actions); In re Philadelphia Gold Corp., 56 B.R.

87, 90 (E.D. Pa. 1985) (finding that removal of district court case to bankruptcy court was proper);

see also Harve Benard LTD., v. Nathan Rothschild, K.I.D. Int’l, Inc., No. 02-Civ.-4033 (JGK),

2003 WL 367859 (S.D.N.Y. Feb. 19, 2003); but see, Doyle v. Mellon Bank, N.A., 307 B.R. 462

(E.D. Pa. 2004). As the court in MATV-Cable explained, there are two methods of moving a case

from district court to bankruptcy court, removal or referral:

               … bankruptcy related cases filed in the district court do not walk
               home each night. How do they get to the bankruptcy court? Removal
               is one way. A motion to refer or to implement the existing referral
               is another. The advantage of removal is that the case moves to
               bankruptcy court within a few days of the filing for removal under
               Fed. R. Bankr. P. 9027. The disadvantage of filing a motion to refer
               or to implement referral in the district court is that our district judges
               are hugely overburdened, primarily by their criminal cases, which
               are under intense time constraints and which do not permit the
               assignment of the priority to bankruptcy related cases that the
               bankruptcy litigants might like.

MATV-Cable, 159 B.R. at 60. Accordingly, “removal” is a proper method to move a district court

case to the bankruptcy court because Rule 9027 allows the removal of any action pending before

a federal court. See Fed. R. Bankr. P. 9027 (“notice of removal shall be filed with the clerk of the


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district and division within which is located the state or federal court where the civil action is

pending”) (emphasis added).

       17.     Assuming a grant of the venue transfer motion, the Delaware Bankruptcy Court

will have jurisdiction over the Removed Action because it arises out of and is related to the

Delaware Bankruptcy Case. While the Removed Action was filed before the commencement of

the Delaware Bankruptcy Case, Plaintiffs’ potential recovery is directly tied to the claims

allowance and distribution functions of the bankruptcy proceedings. Specifically, the validity,

priority and extent of Plaintiffs’ general unsecured claims (if any) against Hampshire will be

determined in accordance with the Bankruptcy Code and any distributions they might receive on

account of any allowed claims will be governed by the claims reconciliation process. As such, the

outcome of the Removed Action may impact recoveries to Hampshire’s other creditors because

any distributions made to Plaintiffs will reduce the amounts available for other creditors.

Furthermore, Hampshire is required to indemnify, defend and hold harmless the Non-Debtor

Defendants and to advance the costs of the Non-Debtor Defendants’ defense, subject to certain

limitations, with respect to the Removed Action so any judgment against the Non-Debtor

Defendants will, in turn, likely become a claim against Hampshire.

       18.     Even more importantly, if the Removed Action were to proceed in District Court

against the Non-Debtor Defendants, Hampshire might be faced with res judicata, collateral

estoppel and/or issue and claim preclusion arguments during any contested matter involving

Plaintiffs’ disputed unsecured claims against Hampshire. Accordingly, absent removal, there is

the potential for adverse consequences to a core bankruptcy function – the claims allowance

process. Removal is also necessary here to prevent inconsistent rulings in this regard.




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        19.      Additionally, the Delaware Bankruptcy Court will have jurisdiction because the

Removed Action is related to the Delaware Bankruptcy Case. For the reasons discussed above,

any adjudication of the Removed Action will have a “conceivable effect” on the bankruptcy

estates.3 Plaintiffs brought the Removed Action in an effort to collect on a purported unsecured

debt owed by Hampshire and also seek to recover damages from the Non-Debtor Defendants, both

of whom have been indemnified by Hampshire. Therefore, any adjudication of the Removed

Action will affect Hampshire’s liabilities and will impact the administration of the estates.

Filing of Removal Papers

        20.      Pursuant to Rule 9027(c), written notice will be served upon Plaintiffs through

their counsel of record and a copy of this Notice of Removal will be filed with the District Court.




3
 Hampshire consents to the entry of final orders or judgment by the Delaware Bankruptcy Court. See Fed. R. Bankr.
P. 9027(a)(1).


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       WHEREFORE, Hampshire hereby removes the Removed Action from the United States

District Court for the Southern District of New York to the United States Bankruptcy Court for the

Southern District of New York and, upon such removal, respectfully requests that the Removed

Action be transferred promptly to the United States Bankruptcy Court for the District of Delaware.


                                             Respectfully Submitted,

                                             BLANK ROME LLP


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